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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION


  In Re: COOK MEDICAL, INC., IVC FILTERS              Case No. 1:14-ml-2570-RLY-TAB
  MARKETING, SALES PRACTICES AND                      MDL No. 2570
  PRODUCTS LIABILITY LITIGATION



  This Document Relates to Plaintiff(s):

  Brian Bazinet - 1:21-cv-06351-RLY-TAB
  Kenneth Doran - 1:20-cv-06208-RLY-TAB
  Antonio Quistian - 1:21-cv-06347-RLY-TAB



        ORDER PERMITTING WITHDRAWAL OF ATTORNEY APPEARANCE

        Plaintiffs’ Motion to Withdraw Attorney Appearance of Katelyn E. Richardson is

 GRANTED, it is therefore,

        ORDERED that Katelyn E. Richardson is withdrawn as attorney of record for Plaintiffs

 Brian Bazinet, Kenneth Doran, and Antonio Quistian effective immediately. Basil E. Adham and

 Johnson Law Group shall continue to serve as counsel of record for Plaintiffs.



 Date: ____________

                                                     ____________________________________
                                                     Tim A. Baker
                                                     United States Magistrate Judge
                                                     Southern District of Indiana
